           Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 1 of 10
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Name: Salvador Garibo Guerra
Fed. Reg. No. 95693-011                                                                  ,IUN "I 4 2010
Federal Correctional Institution-Lompoc
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3600 Guard Road                                                                       CLERK U.S. DISTRICT COUyRT
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Lompoc, CA 93436                                                                                                   DEPUT
                                                                           BY




                                   UNITED   STATES DISTRICT     COURT

                                       DISTRICT    OF MARYLAND



                                            )          Civil Action No. PJM-10-1155
UNITED    STATES OF AMERICA
                                            )
                                            )          Criminal    Action No. PJM-01-533
                       Plaintiff
                                            )
                                            )          MOTION TO VACATE JUDGMENT PURSUANT
v.                                                     TO RULE 36. IN PARI MATERIA TO
                                            )
                                            )          RULE 60(b) FED. R. CIV. PROC.
SALVADOR     GARIBO GUERRA
                                            )
                       Dt!fendant           )

-----------).


                      ~OTION    TO VACATE JUDGMENT         PURSU&'IT TO RULE 36.

                      IN PARI MATERIA       TO RULE 60(b) FED. R. CIV. PROC.

         COKES NOW. Salvador        Garibo Guerra. Petitioner.          respectfully            seeking leave

 of this Honorable       Court, to entertain        the above cause uader Rule 36 adopted

 fo~ criminal    matters,      the essential      language    of Rule 60 or the Civil Rules.

 This pleading    arises       from this Court's denial at Petitioner's                   writ of Habeas

 Co~pus w~~r.out any findings of facts and conclusions                    at law.

         Petitioner    properly     invokes     Rule 60(b) of the Federal Rules of Civil

 Procedure    which provides        that on motion made with a reasonable                    time "and upon

 such terms as are just, the Court ffiayrelieve                 a party    ... from a final judgment,

                                                                        (4) the judgment              is void        ...
 order,    or proceeding       for the following      reasons

 or (b) any other reason justifying               relief    from the operation           of the judgment

 action    is timely pursuant         to Rule 60(b).       See Cent. Vt. Pub. Servo Corp. v.

 Herbert,     341 F.3d 186, 189 (2nd Cir. 2003).
           Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 2 of 10



     "Cour~s have been ex~re~ely          leni~n:       in defining    the term 'r~asonable           time',

with respect     to voidness challenges"       (internal quotation         marks omitted).       Velez

v. Vasallo,     203 F.Supp.2d    313, 318 (S.D.N.Y.         2002) ("Nearly overwhelming          authority

exists    for the proposition     that there are no time limits to a challenge                   to

a void judgment        because of its status as a nulity")            (quoting United States

v. One Toshiba     Color Television,      213 F.3d 147, 157 (3rd Cir. 2000).

     "Unlike motions made pursuant           to other subsections          of Rule 60(b) the

Court lacks discretion        with respect    to a motion made under Rule 60(b)(4),

if void the Court must vacate        the judgment."         Tuff-N-Rumble        Mgmt. Inc. v. Sugarhill

Music Pub. Inc., 99 F.Supp.2d        450, 455 (S.D.N.Y. 2000); see also Herbert,

341 F.3d at 189 (liTheDistrict           Court has no discretion          in ruling on a 60(b)(4),

the judgment     is either void or it is not") (internal citations                   omitted).

         This motion    is appropriate    for addressing      errors of law by the Court.

Finch v. City of Vernon, 845 F.2d 256, 258-59 (7th Cir. 1988). Further,                          the



the Court obviously        failed to includ~.       Continental       Casualty    Co. v. Howard,

755 F.2d 876, 883 (7th eire         1935), cert. denied, ~75 U.S. 1122 (1986).




                                                    2
         Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 3 of 10


                              STATEMENT OF JURISDICTION

     Jurisdiction     over this case is vested in the District        Court pursuant

to 18 U.S.C.   ~3231. The Court of Appeals      has jurisdiction   over appeals      from

final decisions     of the District   Court pursuant   to 28 U.S.C.    ~1291-1294.   The

Petitioner's   conviction   was affirmed by the Circuit     Court and the Supreme

Court, which constitutes     a final judgment;    therefore,   jurisdiction   is proper.

Berman v. United     States, 302 U.S. 211, 213, 58 S.Ct. 164, 82 L.Ed. 204 (1937).

This is a petition     for habeas relief under 28 U.S.C. ~2255 on Motion        to Set

Aside,   Vacate,   or correct Sentence.




                                            3
           Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 4 of 10



                                           DISCUSSION

     This motion for denial of Audita Querela              relies,    inter alia, on Marbury

v. Madison    (1803) for the proposition           that it was the first time the Supreme

Court explicitly      explained   and justified       judicial   review. If ever there was

a dire necessity      for a review of the judicial         decision,    it would be in this

instant    case, where    the District     Court appears    to have departed       from the admon-

ition articulated       in United States v. Morgan,        346 U.S. 502 (1954) ("In behalf

of the unfortunates,       Federal Courts should act in doing justice              if the record

makes plain a right to relief"). This Honorable              Court, the Eighth Circuit,

did just that in exercising        its equitable       powers by granting      resentencing        in

a ~3582(c),    holding    a District   Court may consider        grounds    for departure     unavail-

able to a defendant       at the original     sentencing.    United States v. Mihm,          134

F.3d 1353, 1355 (8th Cir. 1998); United States v. Williams,                   103 F.3d 57, 58-59

(8th Cir. 1996).

     Petitioner's       reliance on Marbury v. Madison           is the lynch pin, for which

he asks this Honorable        Court in considering       a rehearing    en bane to take judicial

notice of matters of settled law. Writing              for a unanimous      court, John Marshal,

Fourth Chief Justice       of the United States,        used syllogistic      reasoning.     Major

Premise:     the Constitution     is the Supreme      law of the land and judges          take an

oath to support it. Minor Premise:           it falls within       the province    of the judiciary

to interpret     the law. Conclusion:       judges must not enforce a statute             that they

believe    violates   the Constitution.

      Although    assailed    by Justice    Gibson of the Pennsylvania          Supreme Court

writing    a powerful     opposing view in Easkin v. Raub,           (1825), Marbury      v. Madison

has been ratified        by time and practice       and has become a cornerstone          of the

larger constitutional        system, and the bedrock        on which Morrison's         pleading

is anchored.     Petitioner     would also invoke Bell v. Hood,            (citations    omitted),



                                               4
          Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 5 of 10



fo~ the proposition       that whenever    the~e is an i~fringement           of a federally      pro-

tected right, one is entitled        to reliet.

     In rubber-stamping       and endorsing     the denial of Petitioner's            Writ of Error

Audita Querela,    this Court may have overlooked              the All Writs Act, which provides

a basis    for exercise    of equitable    power, separate        from inherent authority.

Texaco    Inc. v. Chandler,     354 F.2d 655, 657 (10th Cir. 1965) (Court has the

"power and inescapable        duty, whether    under    the All Writs statute,         28 U.S.C.

~1651, or under its inherent powers of appellate                 jurisdiction,     to effectuate

what seems to be the manifest        ends of justice")          (internal quotation      marks

omitted);     United States v. Mandel,       862 F.2d 1067, 1074 (4th Cir. 1988) (granting

coram nobis relief under Section           1651(a) in light of retroactive            change in

mail fraud law and to "achieve           justice").

         Morgan teaches   that Federal     Courts may properly       fill the interests of

the federal post convictions        remedial       framework    through    remedies   available

at common law. Doe, 282 U.S. App. D.C. 266,894                  F.2d 425.428      (D.C. Cir. 1990).

Throughout     his petition    submitted    to the District       Court and denied by the Honor-

able Court, Petitioner        Morrison    relies heavily       on United States v. Morgan to

hold that Petitioner's        exhaustion    ot his statutory       rights under 28 U.S.C. ~2255

does not bar his petition        for Writ of Audita Querela.

         Audita Querela    is the only constitutional          vehicle     for this Petitioner

 to get the relief he seeks. The questions             this Honorable        Court faces is

 (a) whether    Petitioner    is foreclosed     from attempting          to retroactively   apply

 Booker    in light of United States v. Cruz, 423 F.3d 1119 (9th Cir. 2005),

 (b) whether    Petitioner    has a substantive        Fifth Amendment       right to challenge

 his sentence and whether        any such right would be retroactive,             and (c) whether

 Petitioner     is entitled    to be resentenced       under 18 U.S.C.       ~3582(c)(2)(5).

         The Writ of Audita Querela        is available    in the federal        criminal content



                                               5
          Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 6 of 10



to fill the gap in the current systems                of the post convictions     relief.    United

States v. Valdez-Pacheco,          237 F.3d 1077, 1079 (9th Cir. 2001). In Valdez-Pacheco

the Ninth Circuit       ruled that the Writ of Audita Querela was not available                    to

a prisoner     to avoid the provisions        of the Antiterrorism         and Effec~ive    Death

Penalty    Act of 1996 ("AEDPA"),       codified       in relevant    part at 28 U. S.C. ~2255

and ~2254,     that limit the rights of a prisoner            to file a second and successive

habeas    motion.    "A prisoner    may not circumvent       valid congressional        limitations

on collateral       attacks   by asserting    that those very limitations         create a gap

in the post convictions         remedies    that must be filled by the common law writs".

Valdez-Pacheco,       237 F.3d at 1080. Because Valdez's             claims were cognizable        in

a Section    2255 motion      to vacate his convictions        and sentence.     The Ninth Circuit

held   that the Writ of Audita Querela was not available                  to him. Id.

       Valdez-Pacheco     is distinguishable          from the present     case because Valdez's

claims    raised in Petition       for Writ of Audita Querela           could have been raised

in direct appeal       or in earlier post conviction          attacks.     In Valdez's    Writ of

Audita    Querela,    "Valdez    for the first time challenges           the District    Court's

jurisdiction     to impose enhanced        sentence,     based on the Government's        alleged

failure    to file the requisite       information       denoting    the prior convictions     and

his double jeopardy       challenge    to the conspiracy       conviction,     both of which were

addressed    in his direct      appeal." Valdez-Pacheco,           237 F.3d at 1078-79     (citation

and footnote     omitted).      In this instant       case, Petitioner     was precluded    from

raising    "Booker    issues"    at the time of his sentencing,           at the time of his direct

appeal,    and at the time he filed his Section 2255 motion, by United States

Supreme    Court decisions       that precluded       challenges     to the validity    of the Federal

Sentencing     Guidelines."

       In Doe v. Immigration        and Naturalization       Service,     120 F.3d 200 (9th Cir.

1997), the Ninth Circuit          held that "a Writ of Audita Querela,           if it su~vives



                                                  6
           Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 7 of 10



at all, is available        only if a defendant      has a legal defense or disc~arge

to the underlying        judgment";   and the discussion     in Doe is focused on the power

of the Court to vacate        a final conviction.

     This, however,        was to distinguish       a legal claim from an equitable       one.

See Id •• The Doe Court relied on a Seventh             Circuit   case which stated the "defense

or discharge    must be a legal defect in the conviction,              or in the sentence

which taints the conviction."          Doe, 120 F.3d at 203 (emphasis added)           (quoting

United States v. Johnson,        962 F.2d 597, 582 (7th Cir. 1992».              As there may

be no other remedy available          to this Petitioner     in this criminal       case to remedy

a grave injustice,        this Petition    for Audita Querela       should be decided    on its

merits, unless the Court determines           that Petitioner's       petition    should be construed

as a 18 U.S.C. ~2255 motion.

     The United States Supreme           Court has clearly held that the enhancement

of 28 U.S.C.     ~2255 does not bar Federal Courts from considering                common law

'.Jrits."The contention       is made that ~2255 of Titl~ 28 G.S.C., providing             that

a prisoner     in custody may at any time move the Court which imposed                the sentence

to vacate     it, if in violation      of the Constitution        or laws of the United States,

should be construed        to cover the entire field of remedies          in the nature of

coram nobis in Federal        Courts."    We see no compelling       reason to reach that

conclusion.     United    States v. Morgan,     346 U.S. 502, 510, 74 S.Ct. 247, 98 L.Ed.

(1954). In United        States v. Morgan,    the United States Supreme Court held that

"the District     Court has the power to grant" a motion             in the nature of a Writ

of Error Coram Nobis.        Id. at 511.

     The Court emphasized         that the continuation      of litigation       after the final

judgment    and exhaustion     or waiver of any statutory          right or review should

be allowed     through    the extraordinary     Writ of Coram Nobis, which must be heard

by the Federal Trial Court. Id. at 512. "Otherwise                 a wrong may stand uncorrected



                                                7
            Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 8 of 10



which    the available       remedy would right."          Id.

        Petitioner       contends    in substance       that the Writ of Audita Querela           remains

available      because     Booker is not retroactive.            The Ninth Circuit         has already

rejected      this claim in Carrington           v. United States,           (citations    omitted).    However,

the Petitioner          in Carrington       did not proffer any evidence           that they were uniquely

impacted      by the guidelines           or that there are any equities           that distinguish

them from other defendants'                sentence before       "Booker".    Carrington,     503 F.3d

at   893.

        The Ninth Circuit in Carrington             expressly       recognized     that relief could

be "available        in a particular         case upon a showing of truly extraordinary                 circum-

stances      and equities."        Id. In this instant       case, this Petitioner           represents

truly extraordinary          circumstances,       and the equities       present are unique        to

the Defendant.        The sentence imposed by this Court was greater                      than necessary

to accomplish        the goals of sentencing.           Resentencing     is necessary        to "avoid

unwarranted      sentence        disparities    among cefendants       with similar        records who

haOle been found guilty of simila:: conduct."                    18 U.S.C. ~3633(a)(6).        Kimbrough

v. United      States,     128    s.et.    558, 574, 169 L.Ed.2d 481 (Dec. 10, 2007) noting

that "Section        3353(a)(6)      directs District       Courts to consider        the need to avoid

unwarranted      disparities--along           with other ~3553(a) factors--when              imposing

sentences."



                                                CONCLUSION

        The Writ of Audita Querela             should be available       to this Petitioner        because

Booker      announced     a new rule of constitutional             law that was unforseeable           at

the time of his sentencing                and appeal,   thus distinguishing         his case from Valdez-

Pacheco.      The Ninth Circuit holding regarding                Cruz should not apply to this

Petitioner's      petition        for Writ of Audita      Querela because Cruz and Teague only



                                                    8
       Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 9 of 10



apply to habeas cases on collateral review. The Court does not address the

retroactivity of Booker under the Fourth Amendment. This Honorable Court should

hold that Petitioner is entitled to be resentenced under 18 U.S.C. ~3582(c)(2).

     As recognized by the United States Supreme Court, "The sentencing judge

has access to, and greater familiarity with, the individual cases and the

individual defendant before him than the (Sentencing) Commission or the Appeals

Court." See Gall v. United States, 128 S.Ct. 586, 598, 169 L.Ed.2d 445 (Dec.

10, 2007); and Kimbrough v. United States, 128 S.Ct. 558, 574, 169 L.Ed.2d

481 (Dec. 10, 2007); (quoting Rita v. United States, 127 S.Ct 2456, 1469,

 168 L.Ed.2d 203 (June 21, 2007)).


                                 RELIEF SOUGHT

      Petitioner seeks leave of this Honorable Court to grant the requested

 remedy, in recognition of common law post conviction remedies governed by

 United States v. Morgan, 346 U.S. 502, 74 S.Ct. 247,96   L.Ed. 248 (1954).


                                                 Respectfully Submitted,
 Date: June 7, 2008


                                                 J?~/h~~
                                                 Salvador Garibo Guerra
                                                 Pro Se Petitioner




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.                          Case 8:01-cr-00533-PJM Document 770 Filed 06/14/10 Page 10 of 10

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              Pursuant      to Title 28, United States Code section 1746, I declare under penalty of perjury
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